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FoR THE WESTERN DISTRJCT or TENNESSEE 05 J l _
WESTERN DIVISION U~ 30 H h= l l
UNITED sTATEs oF AMERiCA, MKWOU‘:I»=.§:;T&Q?LD
W/'"”` , ida
Plainriff, ` " *3` "33
v. No. 05_20142 B
CALVIN MCNARY,
Defendant.

 

ORDER DENYING DEFENDANT'S PRO S_E "MOTION TO DISMISS
FOR LACK OF PROSECUTION“

 

Before the Court is the ]uly 20, 2005 gm s_e motion of the Defendant, Calvin McNary, “to

dismiss for lack of prosecution." Under the local rules of this district,
/”i "[a] party represented by counsel who has appeared in a case may not act on his or her

own behalf unless that party’s attorney has obtained leave of the court to withdraw

as counsel of record, provided that the court may, in its discretion, hear a party in

open court, notwithstanding the fact that the party is currently represented by counsel

of record.
LRSS.l(d), Local Rules of the U.S. Dist. Ct. for the W. Dist. of Tenn. (the "Local Rule"). The
Det`endant, who is represented by counsel, has filed at least one previous U § motion, which Was
denied as Violative of the Local Rule. The instant motion must suffer the same fate. The Defendant
is admonished that further pr_o_ se filings while he is represented will be stricken from the Court'S

docket The motion is DENIED.

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J. D N LBREEN
ITE STATES DISTRICT JUDGE

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UNITED sTATE D"ISIC COURT - wEsTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:05-CR-20142 was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

